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1 Jamin S. Soderstrom, Bar No. 261054
  jamin@soderstromlawfirm.com
2
  SODERSTROM LAW PC
3 3 Park Plaza, Suite 100
  Irvine, California 92614
4
  Tel: (949) 667-4700
5 Fax: (949) 424-8091
6 Counsel for Plaintiffs and the Proposed Class
7
8                        UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10
                       (WESTERN DIVISION – LOS ANGELES)
11
12   GRANT MCKEE, TAYLOR FISSE,                  Case No. 2:17-cv-01941 GW (Ex)
13   BRYAN REES, ERIC WEBER, and
     MICHAEL ROGAWSKI, individually
14   and on behalf of all others similarly       NOTICE OF LODGING REVISED
15   situated,                                   PROPOSED ORDER GRANTING
                                                 CORRECTIVE ACTION UNDER
16              Plaintiffs,                      FEDERAL RULE OF CIVIL
17                                               PROCEDURE 23(d)
     v.
18   AUDIBLE, INC.,
19
                Defendant.
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     NOTICE OF LODGING REVISED PROPOSED ORDER GRANTING CORRECTIVE ACTION UNDER FEDERAL
                                 RULE OF CIVIL PROCEDURE 23(d)
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1        After meeting and conferring pursuant to the Court’s instruction, see Dkt.110, the
2 parties have agreed to and Plaintiffs hereby lodge the following document:
3        [REVISED PROPOSED] ORDER GRANTING CORRECTIVE
4        ACTION UNDER FEDERAL RULE OF CIVIL PROCEDURE
5        23(d)
6
7 Dated: May 15, 2018                      SODERSTROM LAW PC
8                                          By: /s/ Jamin S. Soderstrom
9                                              Jamin S. Soderstrom
10                                         Counsel for Plaintiffs and the Proposed Class
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     NOTICE OF LODGING REVISED PROPOSED ORDER GRANTING CORRECTIVE ACTION UNDER FEDERAL RULE OF
                                         CIVIL PROCEDURE 23(d)
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1                              CERTIFICATE OF SERVICE
2        The undersigned certifies that on May 15, 2018, I caused the foregoing document
3 to be served on all counsel of record by the Court’s CM/ECF electronic filing system.
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5                                          By: /s/ Jamin S. Soderstrom
                                               Jamin S. Soderstrom
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     NOTICE OF LODGING REVISED PROPOSED ORDER GRANTING CORRECTIVE ACTION UNDER FEDERAL RULE OF
                                         CIVIL PROCEDURE 23(d)
